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7
8                       IN THE UNITED STATES DISTRICT COURT
9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )       CASE NO. 2:07-cr-00176 MCE
                                      )
12                     Plaintiff,     )       STIPULATION AND ORDER CONTINUING
                                      )       STATUS CONFERENCE
13        v.                          )
                                      )
14   YVONNE C. WEST,                  )
                                      )       DATE:    September 24, 2009
15                     Defendant.     )       TIME:    9:00 a.m.
                                      )       COURT:   Morrison C. England, Jr.
16
17        The undersigned prosecutor and Robert W. Holley, counsel for
18   Yvonne C. West, have agreed that the status conference in her case
19   should be moved from August 27, 2009, to September 24, 2009.          Ms.
20   West's son, Sammy Kelson, and daughter, Sammethia Kelson, are
21   scheduled to be sentenced on September 24, 2009 (the sentencings
22   were continued from August 27).      Under the terms of the package-deal
23   plea agreements, after Sammy Kelson and Sammethia Kelson have been
24   sentenced, the government intends to move to dismiss the charges
25   against Yvonne C. West.    Therefore, the cases should stay together.
26        The parties further agree that time should be excluded from the
27   speedy trial calculation under the Speedy Trial Act through the new
28   status conference date of September 24, 2009, pursuant to 18 U.S.C.

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1    § 3161(h)(7)(A) & (B) and Local Code T, because of the pendency of
2    the sentencing of the co-defendants and the potential dismissal of
3    the charges against this defendant.
4         Defense counsel has authorized the prosecutor to sign this
5    stipulation on his behalf.
6    DATED:    August 26, 2009                    LAWRENCE G. BROWN
                                                  United States Attorney
7
8                                        by       /s/ Samantha S. Spangler
                                                  Samantha S. Spangler
9                                                 Assistant U.S. Attorney
10   DATED:    August 26, 2009           by       /s/ Samantha S. Spangler for
                                                  Robert Holley
11                                                Counsel for Yvonne C. West
12
                                           Order
13
          Good cause appearing,
14
          1) The status conference is continued to September 24, 2009, at
15
     9:00 a.m.;
16
          2) Time is excluded through September 24, 2009, because of the
17
     pendency of the co-defendants' sentencings and the anticipated
18
     dismissal of charges against this defendant, pursuant to 18 U.S.C. §
19
     3161(h)(7)(A) and (B) and Local Code T.           The Court finds that the
20
     interests of justice served by granting this continuance outweigh
21
     the interests of the defendant and the public in a speedy trial.
22
          IT IS SO ORDERED.
23
24   Dated: August 27, 2009

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                                           MORRISON C. ENGLAND, JR.
27                                         UNITED STATES DISTRICT JUDGE

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